Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 1 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 2 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 3 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 4 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 5 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 6 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 7 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 8 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                          Document     Page 9 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 10 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 11 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 12 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 13 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 14 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 15 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 16 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 17 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 18 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 19 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 20 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 21 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 22 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 23 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 24 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 25 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 26 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 27 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 28 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 29 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 30 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 31 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 32 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 33 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 34 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 35 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 36 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 37 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 38 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 39 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 40 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 41 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 42 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 43 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 44 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 45 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 46 of 47
Case 15-20709   Doc 1   Filed 06/15/15 Entered 06/15/15 13:56:15   Desc Main
                         Document     Page 47 of 47
